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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


  AMERICAN CHEMICAL SOCIETY,

       Plaintiff,

  v.                                              No. 1:17-cv-00726-LMB-JFA

  SCI-HUB d/b/a WWW.SCI-HUB.CC,
  JOHN DOEs 1-99,

       Defendants.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
               MOTION TO AMEND PERMANENT INJUNCTION

          Plaintiff American Chemical Society (“Plaintiff” or “ACS”) by counsel, submits this

 memorandum in support of its motion to amend the permanent injunction that this Court issued

 on November 3, 2017 (ECF No. 33) to clarify certain entities that may be are subject to the

 injunction, and in support thereof states as follows:

 I.       INTRODUCTION

          On November 13, 2017, this Court issued an Order granting Plaintiff’s Motion for

 Default Judgment and requiring, inter alia:

          that any person or entity in active concert or participation with Defendant Sci-Hub and
          with notice of the injunction, including any Internet Search engines, web hosting and
          Internet service providers, domain name registrars, and domain name registries, cease
          facilitating access to any or all domain names and websites through which Defendant Sci-
          Hub engages in unlawful access to, use, reproduction, and distribution of the ACS Marks
          or ACS’s Copyrighted Works.

 and that

          the domain name registries and/or registrars for Defendant Sci-Hub’s domain names and
          websites, or their technical administrators, shall place the domain names on
          registryHold/serverHold or such other status to render the names/sires non-resolving.
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 ECF No. 33 at 2 (the “Permanent Injunction”). Since entry of this Order, numerous domain

 name registrars, domain name registries, Internet service providers, and technical service

 providers have complied with the Order’s requirements and disabled domain names, websites,

 and services that Sci-Hub uses to engage in unlawful access to, use, reproduction, and

 distribution of the ACS Marks or ACS’s Copyrighted Works. However, Plaintiff has been

 forced to engage in a game of “whac-a-mole” whereby new “sci-hub” domain names emerge.

 Further complicating matters, some registries, registrars, and Internet service providers have

 refused to disable newer Sci-Hub domain names that were not specifically identified in the

 Complaint or the injunction (because they were not known or in existence at the time).

        ACS therefore seeks to amend the Permanent Injunction to make clear that the injunction

 extends to any domain name, website, or other service through which Defendant Sci-Hub

 engages in unlawful access to, use, reproduction, and distribution of the ACS Marks or ACS’s

 Copyrighted Works, whether now or at some time in the future.

 II.    FACTUAL BACKGROUND

        In its First Amended Verified Complaint, ACS identified a number of domain names

 used by Defendant Sci-Hub to engage in unlawful access to, use, reproduction, and distribution

 of the ACS Marks or ACS’s Copyrighted Works: sci-hub.cc, sci-hub.net, sci-hub.io, sci-hub.ac,

 and sci-hub.onion. ECF No. 4 ¶¶ 36 & 50. Since the Court issued its Permanent Injunction,

 ACS has been able to disable the sci-hub.cc, sci-hub.net, sci-hub.io, and sci-hub.ac domain

 names (and other domain names). ACS has also been able to disable certain mobile phone

 applications, content delivery network services, and browser extensions that provide direct

 access to the domain names and websites used by Defendant Sci-Hub to engage in unlawful

 access to, use, reproduction, and distribution of the ACS Marks or ACS’s Copyrighted Works.



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        Nevertheless, Sci-Hub has reemerged using different domain names and websites to

 engage in its infringing activities. ACS is aware of the following domain names that Sci-Hub is

 currently using to engage in unlawful access to, use, reproduction, and distribution of the ACS

 Marks or ACS’s Copyrighted Works: sci-hub.cf, sci-hub.cn, sci-hub.ga, sci-hub.gq, sci-hub.hk,

 sci-hub.is, sci-hub.la, sci-hub.name, sci-hub.nu, sci-hub.nz, sci-hub.tv, sci-hub.tw, and sci-

 hub.ws. True and accurate screenshots of the landing pages for each of these domain names are

 attached as Attachment 1 to the Declaration of David Weslow (Mar. 28, 2018), attached hereto

 as Exhibit A (“Weslow Decl.”). True and accurate printouts of the Whois registration records

 for these domain names are attached to the Weslow Declaration as Attachment 2.

        While ACS seeks to disable these identified domain names and websites as quickly as

 possible, ACS anticipates that as access to these domain names and websites is disabled,

 Defendant Sci-Hub will register additional domain names and websites to continue its blatent

 and intentional infringement of the ACS Marks and ACS Copyrighted Works.

 III.   ARGUMENT

        The Court should modify the Permanent Injunction to clarify that all domain names,

 websites, and other services used by Sci-Hub to engage in its infringing activity, including but

 not limited to those identified above, are subject to the Permanent Injunction, whether or not

 such domain names, websites, and other services were specifically named in the First Amended

 Complaint or the Permanent Injunction. A Court that issues an injunction retains continuing

 jurisdiction to modify it when such modification is necessary to advance principles of equity.

 See Hudson v. Pittsylvania Cty., Va., 774 F.3d 231, 234 (4th Cir. 2014) (“The district court's

 ability to modify or terminate an injunction post-judgment simply expresses the inherent power

 ... possessed by courts of equity to modify or vacate their decrees as events may shape the

 need.”). “The source of the power to modify is of course the fact that an injunction often
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 requires continuing supervision by the issuing court and always a continuing willingness to apply

 its powers and processes on behalf of the party who obtained that equitable relief.” Railway

 Employees v. Wright, 364 U.S. 642, 647 (1961). Modification of an injunction is particularly

 appropriate where, as here, the defendant has acted to frustrate the purpose of the original

 injunction. See Philip Morris USA, Inc. v. Otamedia Ltd., 331 F. Supp. 2d 228 (S.D.N.Y. 2004).

        Here, Defendant Sci-Hub is attempting to frustrate the Permanent Injunction by

 transferring its infringing activities to new domain names, websites, and services. See, e.g.,

 Oakley, Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule “A”,

 No. 13-cv-2958 (N.D. Ill. July 12,2013) (amending injunction to cover newly discovered domain

 names used in sale of counterfeit and infringing goods); The North Face Apparel Corp. v. Fujian

 Sharing Import & Export Ltd. Co., No. 10-cv-1630 (S.D.N.Y. Feb. 26, 2018) (amending

 permanent injunction to clarify “newly discovered domain names” subject to injunction).

 Although Plaintiff believes these new domain names, websites, and services fall within the scope

 of the Permanent Injunction, an amended injunction will provide clarity and reduce or avoid

 future disputes regarding the scope of the injunction.

 IV.    CONCLUSION

        For the foregoing reasons, ACS respectfully requests that the Court amend the

 Preliminary Injunction as set forth in the accompanying Proposed Order and grant such further

 relief as this Court deems proper.




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      Dated: March 28, 2018   By:      /s/ Attison L. Barnes. III /s/
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                                  CERTIFICATE OF SERVICE

        Because Defendant Sci-Hub is in default, service of the foregoing is not required. See

 Fed. R. Civ. P. 55(b)(2). Nevertheless, on March 28, 2018, I caused a copy to be sent to the

 following postal and email addresses associated with Defendant Sci-Hub and the domain names

 that are the subject of the instant motion:

        Sci-Hub
        c/o Alexandra Elbakyan
        Teslenko, 275
        Almaty 050014 (KZ)
        sci-hub@tuta.io
        bulletproofweb@gmail.com
        sci-hub.org@gmail.com

        Centrafrique T LD B.V.
        Dot CF administrator
        P.O. Box 11774
        1001 GT Amster dam
        Netherlands
        copyright@freenom.com (sci-hub.cf)

        Gabon TLD B.V.
        P.O. Box 11774
        1001 GT Amste rdam
        Netherlands
        copyright@freenom.com (sci-hub.ga)

        Equatorial Guinea Domains B.V.
        Dominio GQ administrator
        P.O. Box 11774
        1001 GT Amsterdam
        Netherlands
        copyright@freenom.com (sci-hub.gq)

        1337 Services LLC
        P.O. Box 590
        Charlestown, KN 0000 (Saint Kitts and Nevis)
        isnic@njal.la (sci-hub.is)
        whois+sci-hub.nz@njal.la (sci-hub.nz)

        19781002@qq.com (sci-hub.cn)



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